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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NEW YORK
                _______________________________________

                 DOUGLAS J. HORN and CINDY HARP-HORN,

                                       Plaintiffs,

                                            vs.

                  MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
                  AND EDIBLES, RED DICE HOLDINGS, LLC,
                         and DIXIE BOTANICALS,

                                            Defendants.
                _______________________________________

                    Civil Action No. 15-cv-701-FPG/MJR
             ____________________________________________


        MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS
MEDICAL MARIJUANA, INC.’S AND RED DICE HOLDINGS, LLC’S MOTION FOR
     JUDGMENT ON THE PLEADINGS AND/OR SUMMARY JUDGMENT


                                                  Respectfully Submitted,

                                                  Roy A. Mura, Esq.
                                                  Daniel S. Gvertz, Esq.
                                                  MURA & STORM, PLLC
                                                  Attorneys for Defendants
                                                  Medical Marijuana, Inc.
                                                  and Red Dice Holdings, LLC
                                                  930 Rand Building
                                                  14 Lafayette Square
                                                  Buffalo, New York 14203
                                                  (716) 855-2800




    MURASTORM, PLLC  930 RAND BUILDING  14 LAFAYETTE SQUARE  BUFFALO, NEW YORK 14203
                            (716) 855-2800  FAX (716) 855-2816
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                                  PRELIMINARY STATEMENT

               This memorandum of law is submitted along with the declarations of Roy A.

Mura, Esq. (the “Mura Declaration”), Stuart W. Titus, PhD (the “Titus Declaration”), and

Michelle L. Sides, Esq. (the “Sides Declaration”), and various exhibits annexed thereto, in

support of the motion of defendants Medical Marijuana, Inc. (“MMI”) and Red Dice

Holdings, LLC’s (“RDH”) (collectively “MMI/RDH”) for judgment on the pleadings pursuant

to Fed. R. Civ. P. 12(c), and for summary judgment pursuant to Fed. R. Civ. P. 56(a),

dismissing the plaintiffs’ complaint in its entirety.

               This action concerns a myriad of scattershot allegations made by plaintiffs

arising from plaintiffs’ alleged purchase and use of a portion of a single 500 mg bottle of

product called Dixie X CBD Dew Drops 500 mg Tincture (“the product at issue”) allegedly

manufactured and/or sold to plaintiffs by defendants. Plaintiffs’ complaint asserts nine

separate causes of action, or “Counts”, including alleged civil RICO violations.

               As shown below, MMI/RDH’s motion for summary judgment and for

judgment on the pleadings dismissing the complaint should be granted as there are no

genuine issues of material fact regarding all nine of the separate causes of action, and

further, several of the causes of action are not properly pled in the complaint.


                             STATEMENT OF MATERIAL FACTS

               Accompanying MMI/RDH’s motion papers is a Statement of Material Facts

submitted in accordance with W.D.N.Y. L. R. Civ. P. 56(a). To avoid redundancy, the

undisputed material facts will not be restated here and the Court’s attention to directed to

that statement.


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                                      LEGAL ARGUMENT

                                              POINT I

                     JUDGMENT ON THE PLEADINGS STANDARD

              The standard for granting a Rule 12(c) motion for judgment on the pleadings

is identical to that of a Rule 12(b)(6) motion for failure to state a claim. Irish Lesbian & Gay

Org. v. Giuliani, 143 F.3d 638, 644 (2d Cir.1998); Sheppard v. Beerman, 18 F.3d 147, 150

(2d Cir.1994); Ad-Hoc Comm. of Baruch Black & Hispanic Alumni Ass'n v. Bernard M.

Baruch Coll., 835 F.2d 980, 982 (2d Cir.1987). In both postures, the district court must

accept all allegations in the complaint as true and draw all inferences in the non-moving

party's favor. Irish Lesbian & Gay Org., 143 F.3d at 644. The court will not dismiss the

case unless it is satisfied that the complaint cannot state any set of facts that would entitle

him to relief. Sheppard, 18 F.3d at 150.

                                             POINT II

                            SUMMARY JUDGMENT STANDARD

              Summary judgment is to be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). Once the moving party has made a properly supported

showing of the absence of any genuine issue as to all material facts, “the nonmoving

party must come forward with specific facts showing that there is a genuine issue

for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986)

(internal quotation marks and citation omitted).           “A genuine dispute of material fact

‘exists for summary judgment purposes where the evidence, viewed in the light most

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favorable to the nonmoving party, is such that a reasonable jury could decide in that

party’s favor.’” Kwan v. Andalex Grp. LLC, 737 F.3d 834, 843 (2d Cir. 2013) (quoting

Guilbert v. Gardner, 480 F.3d 140, 145 (2d Cir. 2007)). While “[a]ll reasonable inferences

and any ambiguities are drawn in favor of the nonmoving party,” Thompson v. Gjivoje, 896

F.2d 716, 720 (2d Cir. 1990), to defeat summary judgment the nonmoving party “must do

more than simply show that there is some metaphysical doubt as to the material facts,”

Matsushita Elec. Indus. Co., 475 U.S. at 586. Conclusory allegations, conjecture, and

speculation are insufficient to create a genuine issue of fact. D'Amico v. City of N.Y., 132

F.3d 145, 149 (2d Cir.), cert. denied, 524 U.S. 911 (1998).

              When reviewing a motion for summary judgment, the court must resolve

genuinely disputed facts in favor of the non-moving party and must view inferences drawn

from the facts in the light most favorable to the non-moving party. Adickes v. S.H. Kress &

Co., 398 U.S. 144, 158-59 (1970). However, a party may not “rely on mere speculation or

conjecture as to the true nature of the facts to overcome a motion for summary judgment.”

Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 12 (2d Cir. 1986).

                                             POINT III

                 MMI/RDH ARE ENTITLED TO SUMMARY JUDGMENT
                 DISMISSING COUNT I OF PLAINTIFFS’ COMPLAINT

              There are no genuine issues of material fact in evidentiary form in the record

which support Count I of the plaintiffs’ Complaint, which alleges that the defendants

engaged in deceptive acts and false advertising in violation of New York General Business

Law §§349 and 350. As set forth in Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir.,

2000), “[t]o make out a prima facie case under [GBL] section 349, a plaintiff must


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demonstrate that (1) the defendant’s deceptive acts were directed at consumers, (2) the

acts are misleading in a material way, and (3) the plaintiff has been injured as a result.”

       A.        The alleged acts at issue were neither MMI/RDH’s acts nor directed at
                 consumers.

                 1.      The acts at issue were not MMI/RDH’s acts.

                 As a matter of law, there are no triable issues of material fact to support the

proposition that MMI/RDH acted deceptively in this matter. Initially it must be noted that

the record is bereft of actions taken by MMI/RDH. The complaint alleges only that “[i]n or

around September, 2012, plaintiff answered a magazine advertisement from defendant

DIXIE BOTANICALS for an industrial hemp product[.]” (ECF Doc. No. 1, ¶13). A copy of

the alleged advertisement, which is not an advertisement at all, is attached to the

complaint. (ECF Doc. No. 1-1). A review of same shows that this is not an advertisement,

but rather a sidebar written in an issue of High Times Magazine. The sidebar contains

quotes from a person named Tripp Keber who is identified as “Dixie’s Managing Director.”

No representative of MMI/RDH paid to have this article printed in the periodical (Titus

Declaration, ¶¶9-10; Sides Declaration, ¶¶9-12). As this was not a paid advertisement, it

follows that this was not an action taken by MMI/RDH. It was not MMI/RDH’ actions which

caused the sidebar to be commissioned, written, or published by the magazine, nor was it

MMI/RDH’ actions which caused the sidebar to be printed in that issue. As such, any

response to the sidebar made by the Plaintiffs could not be in response to an action taken

by MMI/RDH.

                 Even if the sidebar printed in the High Times magazine can be construed as

an advertisement, the action still cannot be attributed to MMI/RDH. The person interviewed


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is identified in the article as “Dixie’s Managing Director.” There is no connection in

evidentiary form anywhere in the record to show any connection between Keber and

MMI/RDH. As such, as a matter of law, there are no genuine issues of fact that any actions

complained of by the plaintiffs were committed by MMI/RDH.

              2.      Assuming, arguendo, that the sidebar in the High Times
                      magazine is attributable to MMI/RDH, it was not directed at
                      consumers.

              MMI/RDH are entitled to summary judgment on the plaintiffs’ complaint’s first

count or cause of action because there are no triable issues of material fact regarding any

actions of MMI/RDH directed at consumers. In order for acts to be “consumer-oriented” as

required by GBL §349, it must be shown that the conduct at issue “potentially affect[s]

similarly situated consumers.” Oswego Laborers’ Local 214 Pension Fund v. Marine

Midland Bank, N.A., 85 N.Y.2d 20 (1995). Further, “[t]he injury must be to the public

generally as distinguished from the plaintiff alone.” Magee v. Paul Revere Life Ins. Co.,

954 F.Supp. 582 (E.D.N.Y. 1997).

              In the instant matter, the plaintiffs are in a unique situation. They were

employed in a position governed by the rules of a specific government entity, and due to

the unique circumstances of their positions, they found themselves held to higher

standards than the general public would be. (Mura Declaration Exhibit C, page 69-72).

Due to their particular employment, plaintiffs were subject to testing under the guidelines

of the Department of Transportation. (Mura Declaration Exhibit C, page 69-72). This is a

small class of people and it is respectfully submitted should not be considered “the public

at large” as it relates to interpretation of GBL §349 or GBL §350. As such, the acts at issue



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in this matter were not directed at consumers, and as a matter of law, there are no triable

issues of material fact supporting the plaintiffs’ claims in Count I of their complaint.

       B.        MMI/RDH’ actions were not misleading in a material way.

                 MMI/RDH are additionally entitled to summary judgment on this cause of

action because their actions, if any, were not misleading in a material way. According to

the New York Court of Appeals, deceptive acts are, “limited to those likely to mislead a

reasonable consumer acting reasonably under the circumstances.” Oswego Laborers’

Local 214 Pension Fund v. Marine Midland Bank, N.A., 85 N.Y.2d, at 26. “In other words,

a violation of this section requires that the defendant’s conduct deceive a reasonable

consumer in a materiel respect, work a harm to the public at large, and directly cause the

plaintiff’s injury.” Leider v. Ralfe, 387 F. Supp.2d 283, 292 (SDNY 2005). Deceptive

practices are “acts which are dishonest or misleading in a material respect.” Spagnola v.

Chubb Corp., 574 F.3d 64, 74 (2d Cir. 2009) (Internal quotes omitted).

                 In this matter, the actions alleged to have been taken by MMI/RDH, as shown

in the record, are statements made in a magazine that a product did not contain THC. The

specific statements complained of are as follows:

                 It has taken a tremendous amount of time, money and effort,
                 but finally patients here in Colorado – and ultimately all
                 individuals who are interested in utilizing CBD for medicinal
                 benefit – will be able to have access to it.

                 We are importing industrial hemp from outside the US using
                 an FDA import license – it’s below federal guidelines for THC,
                 which is 0.3% - and we are taking that hemp and extracting
                 the CBD. We have meticulously reviewed state and federal
                 statutes, and we do not believe that we’re operating in conflict
                 with any federal law as it’s related to the Dixie X (hemp-
                 derived) product.


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(Mura Declaration Exhibit A, page 19).

                 As a matter of law, there is no genuine issue of material fact that these

statements are dishonest or misleading. Tripp Keber, identified in the sidebar as “Dixie’s

Managing Director”, stated a belief that the products complied with federal law and that

meticulous testing was done to the products. There is no genuine issue of material fact in

the record that shows MMI/RDH did not believe that they were in compliance with federal

law. As such, there is no misleading act or omission by any of the defendants. Without

evidence of a materially misleading act, plaintiffs cannot sustain this cause of action and

MMI/RDH are entitled to summary judgment dismissing this count of the complaint.

       C.        Plaintiffs’ complaint misquotes the language of the High Times
                 magazine’s sidebar.

                 MMI/RDH are entitled to judgment on the pleadings pursuant to Fed R. Civ.

P. 12(c) as the plaintiffs in this matter have materially misquoted the language they now

claim to be deceptive. The Second Circuit has held that “[a] plaintiff who alleges that he

was deceived by an advertisement may not misquote or misleadingly excerpt the language

of the advertisement in his pleadings and expect his action to survive a motion to dismiss

or, indeed, to escape admonishment.” Fink v. Time Warner Cable, 714 F.3d 739, 742 (2d

Cir. 2013).

                 In the instant matter, the complaint states numerous times that MMI/RDH

put forth advertising and other public statements claiming that the product at issue had

“0.00 THC” or “0% THC” in it or that it was “THC free” or “non-THC” or even that “the

ingestion of its products would not cause a positive toxicology result”. (ECF Doc. No. 1,

¶¶13, 14, 19, 28, 31, 35(d), and 35(e)). The only statements actually attributed to any


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defendant in this matter are the statements quoted in the High Times sidebar from Tripp

Keber. In those quoted statements, Keber does not make a single one of the alleged

claims. Due to these misleading excerpts and misquotes, MMI/RDH are entitled to

judgment on the pleadings, dismissing Count I of the plaintiffs’ complaint.

       D.        MMI/RDH’s actions did not injure plaintiff Cindy Harp-Horn.

                 In order to prove liability under GBL §349 and GBL §350, plaintiffs must show

that they were injured by the so-called deceptive actions taken by MMI/RDH. MMI/RDH

are entitled to summary judgment dismissing this cause of action as there is no genuine

issue of material fact that plaintiff Cindy Harp-Horn, who purchased the product, suffered

any injury. It is undisputed that Cindy Harp-Horn ordered the product (Mura Declaration

Exhibit C, page 227; Mura Declaration Exhibit D, page 80), but plaintiff Douglas J. Horn

ingested the product (Mura Declaration Exhibit C, page 226-227). It is also indisputable

that Cindy Harp-Horn voluntarily quit her job after her husband was fired, even though

another position with her employer was offered or available to her. (Mura Declaration

Exhibit D, page 107). As such, there are no triable issues of fact in the record that plaintiff

Cindy Harp-Horn suffered any injury.

                                                POINT IV

  MMI/RDH ARE ENTITLED TO SUMMARY JUDGMENT AND JUDGMENT ON THE
          PLEADINGS DISMISSING THE PLAINTIFFS’ RICO CLAIMS

       A.        Plaintiffs’ RICO cause of action fatally lacks specificity.

                 Plaintiffs failed to properly plead Count Two of their complaint – their

purported RICO count or cause of action alleging violations of 18 USC §1964(c). As set

forth in Dreamco Dev. Corp. v. Empire State Dev. Corporation, No. 15-CV-901-FPG-HKS,


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2017 U.S. Dist. LEXIS 156379, at *5-6 (W.D.N.Y. Sep. 25, 2017), to establish a civil RICO

violation under 18 USC § 1964(c), a plaintiff must plead: (1) a violation of 18 USC §

1962(c); (2) an injury to plaintiff's business or property; and (3) that defendant's violation

caused the injury. Alphas Co. of N.Y. Inc. v. Hunts Point Terminal Produce Cooperative,

Inc., 2017 U.S. Dist. LEXIS 70959, 2017 WL 1929506, 14-cv-00145, at *3 (S.D.N.Y. May

9, 2017) (quoting Lerner v. Fleet Bank, N.A., 318 F.3d 113, 120 (2d Cir. 2003), abrogation

on other [*6] grounds, Am. Psychiatric Ass'n v. Anthem Health Plans, Inc., 821 F.3d 352,

359 (2d Cir. 2016)). To state a violation of § 1962(c), a plaintiff must allege: "(1) conduct

(2) of an enterprise (3) though a pattern (4) of racketeering activity." 4 K & D Corp. v.

Concierge Auctions, LLC, 2 F. Supp. 3d 525, 535 (S.D.N.Y. 2014), quoting De Falco v.

Bernas, 244 F.3d 286, 306 (2d Cir. 2001) (internal quotation marks omitted).

              The complaint in this matter fails to properly plead a pattern as defined by

18 USC §1962(c). "To establish a RICO claim, a plaintiff must show: (1) a violation of the

RICO statute, 18 USC § 1962; (2) an injury to business or property; and (3) that the injury

was caused by the violation of Section 1962." Spool v. World Child Int'l Adoption Agency,

520 F.3d 178, 183 (2d Cir.2008), quoting DeFalco v. Bernas, 244 F.3d 286, 305 (2d

Cir.2001) (internal quotation marks omitted). "[U]nder any prong of § 1962, a plaintiff in a

civil RICO suit must establish a pattern of racketeering activity . . . [and][t]o survive a

motion to dismiss, this pattern must be adequately alleged in the complaint.” Grimes v.

Fremont General Corp., 785 F. Supp.2d 269 (SDNY, 2011).

              In the instant case, plaintiffs have failed to allege a pattern of actions which

would violate the RICO statute. Plaintiffs’ complaint fails to plead with the required

specificity any actions violative of 18 USC §1962. The complaint fails to plead with

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particularity any specific actions or dates of said actions taken by MMI/RDH which they

claim violate 18 USC §1962. These failures warrant judgment on the pleading dismissing

Count Two of the complaint pursuant to Fed. R. Civ. P. 12(c).

       B.        MMI/RDH are entitled to summary judgment on Count Two (plaintiffs’
                 RICO claim).

                 In the alternative, MMI/RDH are entitled to summary judgment on Count Two

of the complaint as there exist no genuine issues of material fact regarding plaintiffs’

allegation that MMI/RDH violated the civil RICO statute. In order to prove a cause of action

under the RICO statute, a plaintiff must prove "at least two predicate acts, [a showing] that

the predicate acts are related, and that they amount to, or pose a threat of, continuing

criminal activity." 4 K & D Corp., 2 F. Supp. 3d 525, 535. A "predicate act" is "any act

indictable for crimes enumerated under 18 USC § 1961(1)[]," which include acts of wire

fraud (18 USC § 1343) and mail fraud (18 USC § 1341). Id., at 535.                             A plaintiff

demonstrates "continuing criminal activity" by establishing either "closed-ended continuity"

or "open-ended continuity." Spool v. World Child Intern. Adoption Agency, 520 F.3d 178,

183 (2d Cir. 2008), citing H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239, 109 S. Ct. 2893,

106 L. Ed. 2d 195 (1989).

                 1.      There are no triable issues of material fact regarding a pattern of
                         racketeering activity via closed-ended continuity.

                 MMI/RDH are entitled to summary judgment on this count as there are no

issues of material fact that a pattern of racketeering activity existed via closed-ended

continuity. "To satisfy closed-ended continuity, the plaintiff must prove 'a series of related

predicates extending over a substantial period of time.'" Westchester Cnty. Indep. Party v.

Astorino, 137 F. Supp. 3d 586, 608 (S.D.N.Y. 2015), quoting Cofacredit, S.A. v. Windsor

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Plumbing Supply Co., 187 F.3d 229, 242 (2d Cir. 1999). "[C]losed-ended continuity is

primarily a temporal concept." Westchester Cnty. Indep. Party, 137 F. Supp. 3d at 608,

quoting Spool, 520 F.3d at 184 (internal quotation marks omitted). "Although there is not

a bright line for what constitutes a 'substantial period of time'...the Second Circuit has

'never held a period of less than two years to constitute a substantial period of

time.'" Westchester Cnty. Indep. Party, 137 F. Supp. 3d at 608, quoting Spool, 520 F.3d

at 184) (emphasis added).

              Plaintiffs testified that they made only three purchases over the course of

several months (Mura Declaration Exhibit C, pages 244, 246). While the courts maintain

that there is no bright-line rule in terms of time, the Second Circuit has never held a period

of less than two years to constitute a substantial period of time. As such, there is no triable

issue of material fact that the Plaintiffs can show a “substantial” period of time. Therefore,

MMI/RDH are entitled to summary judgment on this count of the complaint.

              2.      There are no triable issues of material fact regarding a pattern of
                      racketeering activity via open-ended continuity.

              MMI/RDH are also entitled to summary judgment on this count of the

complaint as there are no genuine issues of material fact that a pattern of racketeering

activity existed via an open-ended continuity. "To satisfy open-ended continuity, the

plaintiff ... must show that there was a threat of continuing criminal activity beyond the

period during which the predicate acts were performed." Spool, 520 F.3d at 185,

quoting Cofacredit, 187 F.3d at 243. "This threat is generally presumed when the

enterprise's business is primarily or inherently unlawful." Spool, 520 F.3d at 185,




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citing Cofacredit, 187 F.3d at 242-43; GICC Capital Corp. v. Tech. Fin. Grp., Inc., 67 F.3d

463, 466 (2d Cir. 1995).

                   "When 'the enterprise primarily conducts a legitimate business,' however, no

presumption of a continued threat arises." Spool, 520 F.3d at 185, quoting Cofacredit,

187 F.3d at 243. "In such cases, 'there must be some evidence from which it may be

inferred that the predicate acts were the regular way of operating that business, or that the

nature of the predicate acts themselves implies a threat of continued criminal

activity.'" Id. Moreover, "an 'inherently terminable' scheme does not imply a threat of

continued racketeering activity." Cofacredit, 187 F.3d at 244; see, also, GICC Capital

Corp. v. Tech. Fin. Grp., Inc., 67 F.3d 463, 466 (2d Cir. 1995) ("It defies logic to suggest

that a threat of continued looting activity exists when, as plaintiff admits, there is nothing

left to loot.").

                   In the instant case, the record is clear that the only activities MMI/RDH

engaged in are those which constitute a legitimate business. The legal importing of hemp-

based product pursuant to an FDA license, and the selling of goods produced therefrom

is legal and as such there is no presumption of a continued threat of racketeering activity.

MMI/RDH have established on this motion that their business activities were legal, and

plaintiffs are unable, as a matter of law, to produce any evidence showing that the business

activities conducted by the defendants were illegal. As such, there is no genuine issue of

material fact tending to establish an open-ended continuity of a pattern of racketeering

activity.




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              3.      There are no triable issues of material fact regarding any pattern
                      of racketeering activity as defined by 18 USC §1961(1).

              Even were this Court to find a triable issue of fact regarding whether there

was a “pattern” of activity, MMI/RDH would still be entitled to summary judgment because

there is no triable issue of fact that the activity at issue in this case falls under the legal

definition of “racketeering activity.” The record before this Court which purports to allege

racketeering activity amounts to two claims of actual racketeering activity under the

statute: sale of a controlled substance; and mail and wire fraud.

              With respect to Criminal Sale of a Controlled Substance, the record before

the Court shows that the actions taken by MMI/RDH does not amount to racketeering

activity as defined by 18 USC §1961(1). 18 USC §1961(1) specifically defines racketeering

activity, with regard to controlled substances as “…any act or threat involving … dealing

in a controlled substance or listed chemical (as defined in section 102 of the Controlled

Substances Act), which is chargeable under State law and punishable by imprisonment

for more than one year.” (Emphasis added).

              Even assuming, arguendo, that the product purchased by plaintiffs was sold

by defendants, and further assuming that the product would constitute “marijuana” under

the laws of New York State or section 102 of the Controlled Substances Act, the amounts

of product that plaintiffs can prove defendants sold are not punishable by New York State

Law by imprisonment for more than one year.

              New York Penal Law §221.35 states as follows:

              A person is guilty of criminal sale of marihuana in the fifth
              degree when he knowingly and unlawfully sells, without
              consideration, one or more preparations, compounds,
              mixtures or substances containing marihuana and the

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              preparations, compounds, mixtures or substances are of an
              aggregate weight of two grams or less; or one cigarette
              containing marihuana. Criminal sale of marihuana in the fifth
              degree is a class B misdemeanor.

              Pursuant to New York Penal Law §70.15(2) a Class B misdemeanor is

punishable by a fixed term of imprisonment that shall not exceed three months. According

to plaintiffs’ own deposition testimony, they purchased, at most, 600 milligrams of

products. (Mura Declaration Exhibit C, page 47). As stated above, even assuming those

products constituted marijuana, that sale does not satisfy the statute to show that any of

the defendants engaged in a racketeering activity as defined by 18 USC §1961(1).

              With regard to the alleged mail and wire fraud, plaintiffs again cannot prove

that the actions taken by the defendants amounted to racketeering activity as defined by

18 USC §1961(1). “To procure a conviction for mail fraud, the government must prove

three elements: (1) a scheme to defraud victims of (2) money or property, through the (3)

use of the mails.” United States v. Walker, 191 F.3d 326, 334 (2d Cir., 1999). Likewise, a

defendant commits wire fraud where he “was one of the participants in a fraudulent

scheme which was furthered by the use of interstate transmission facilities.” United States

v. Corey, 566 F.2d 429, 431 (2d Cir., 1977).

              In this matter, there is no scheme alleged by plaintiffs to defraud anyone of

money or property. Rather, plaintiffs’ complaint alleges and describes only incidental

purchases of a product from the defendants. After an agreement was made, the plaintiffs

made payment and the product was sent to plaintiffs. Nowhere in their complaint do

plaintiffs claim or allege that defendants failed to provide the purchased product to the




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plaintiffs. There are no triable issues of fact regarding any racketeering activity committed

by MMI/RDH, entitling MMI/RDH to summary judgment on Count II of the complaint.

                                              POINT V

         MMI/RDH ARE ENTITLED TO JUDGMENT ON THE PLEADINGS OR
        SUMMARY JUDGMENT DISMISSING COUNT III OF THE COMPLAINT

               Count III of plaintiffs’ complaint purports to allege a cause of action for

fraudulent inducement. However, MMI/RDH are entitled to judgment on the pleadings that

count or cause of action pursuant to Fed. R. Civ. P. 12(c) as plaintiffs have failed to plead

fraudulent inducement with the requisite particularity.

               Fed R. Civ. P. 9(b) requires that for a plaintiff properly to plead a cause of

action for fraudulent inducement the complaint must “(1) specify the statements that the

plaintiff contends were fraudulent, (2) identify the speaker, (3) state where and when the

statements were made, and (4) explain why the statements were fraudulent.” Mills v. Polar

Molecular Corp., 12 F.3d 1170, 1175 (2d Cir. 1993).

               For nearly all statements referred to in the complaint, plaintiffs have failed to

specify the speaker, and where and when the statements were made. For the statements

taken directly from the High Times magazine sidebar, plaintiffs have fail to plead with

particularity how the statements are fraudulent. Again, the statements referred to from

this sidebar are allegedly those Tripp Keber as managing director of Dixie, in which he

allegedly stated his belief that the product at issue complied with federal law. Plaintiffs

failed to plead with any semblance of particularity why that statement was or is fraudulent.

As such, MMI/RDH are entitled to judgment on the pleadings dismissing Count III of

plaintiffs’ complaint.


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              In the alternative, MMI/RDH respectfully submit there are no triable issues

of material fact that MMI/RDH fraudulently induced plaintiffs into doing anything, much less

into buying and using a product that contained a Cannabis sativa chemical when plaintiffs

were subject to random US DOT urinalysis tests. In order for MMI/RDH to be liable to the

Plaintiffs on a theory of fraudulent inducement, plaintiffs must prove (1) a

misrepresentation or material omission of fact which was false and known to be false by

defendant, (2) made for the purpose of inducing the other party to rely upon it, (3) justifiable

reliance of the other party on the misrepresentation or material omission, and (4) injury.

Orchid Construction Corp. v. Gottbetter, 89 A.D.3d 708 (2d Dept., 2011).

              In this action plaintiffs have alleged that they relied on the statements

attributed to Tripp Keber in the High Times magazine sidebar or un-bylined article. (ECF

Doc. No. 1-1). MMI/RDH have established that even if those statements were accurately

attributed to Keber, they did not authorize him to make those statements on behalf of MMI

or RDH. Moreover, there is no genuine issue of material fact tending to prove that

MMI/RDH believed those statements to be false at the time Keber allegedly made them.

The very statements on which plaintiffs rely are expressed as a belief. Further, there is no

evidentiary proof in the record that plaintiffs relied on any representations made by

MMI/RDH that plaintiffs would not fail a Department of Transportation urinalysis exam if

they used the product at issue. Indeed, nothing in the record shows any representations

made by MMI/RDH. For these reasons, MMI/RDH are entitled to summary judgment

dismissing Count III of the complaint.




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                                              POINT VI

      MMI/RDH ARE ENTITLED TO JUDGMENT ON THE PLEADINGS AND/OR
       SUMMARY JUDGMENT DISMISSING COUNT IV OF THE COMPLAINT

               Count IV of plaintiffs’ complaint purports to allege a cause of action for strict

products liability under New York Uniform Commercial Code § 2-318. In order to properly

plead a cause of action for products liability, plaintiffs must allege that they were injured

by a defect in the product, and that the defect was a substantial factor in bringing about

the injury. Plaintiffs must also allege and prove that “(1) at the time of the occurrence the

product [was] being used for the purpose and in the manner normally intended, (2) that if

the person injured or damaged [was] himself the user of the product he would not by the

exercise of reasonable care have both discovered the defect and perceived its danger,

and (3) that by the exercise of reasonable care the person injured or damaged would not

otherwise have averted his injury or damages.” Codling v. Paglia, 32 N.Y.2d 330, 342.

New York UCC § 2-318 extends the potential for liability to third parties, stating: “A seller’s

warranty whether express or implied extends to any natural person if it is reasonable to

expect that such a person may use, consume or be affected by the goods and who is

injured in person by breach of the warranty. A seller may not exclude or limit the operation

of this section.”

               In the instant action, the complaint fails to allege that at the time of the

occurrence, the product was being used for the purpose and in the manner normally

intended. Plaintiffs further failed to plead that the exercise of reasonable care would not

have discovered the defect and perceived the danger. Plaintiffs further failed to plead that

that the exercise of reasonable care would not have averted the injury or damages.


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              Plaintiffs’ complaint contains numerous vague allegations that the product at

issue was defective and that MMI/RDH knew or should have known same, however, of

the numerous claims made by plaintiffs noticeably missing are any claims that plaintiffs

conducted due diligence and still did not perceive the potential for danger of the product.

Additionally, plaintiffs’ complaint does not allege that they exercised due diligence in

ensuring that the product at issue was an approved product for consumption either with a

doctor, or with their employer and still suffered injuries despite that.

              When they purchased and used the product plaintiffs knew that they would

be subject to random urinalysis examination (Mura Declaration Exhibit C Page 69-72), but

still failed to check with their employer or any people who would have conducted such

testing to ensure they would be within the consumption rules as set by their employer

(Mura Declaration Exhibit C, Page 236-238). As such, plaintiffs have failed to plead the

necessary elements of products liability as required by law and MMI/RDH are entitled to

judgment on the pleadings dismissing Count IV of the complaint.

              In the alternative, MMI/RDH are entitled to summary judgment dismissing

this count of the complaint as there are no triable issues of material fact which can support

a finding of products liability. According to the New York Court of Appeals:

              In order to establish a prima facie case in strict products
              liability for design defects, the plaintiff must show that the
              manufacturer breached its duty to market safe products when
              it marketed a product designed so that it was not reasonably
              safe and that the defective design was a substantial factor in
              causing plaintiff's injury.

Voss v. Black & Decker Mfg., 59 N.Y.2d 102, 107 (1983).




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               In the instant matter, there are no genuine issues of material fact tending to

prove that the product at issue was not reasonably safe. Though it is unclear from the

complaint and discovery provided to date how exactly the product at issue is unsafe, it

appears that plaintiffs are relying on the fact that because marijuana is a Schedule I

controlled substance according to the Controlled Substances Act, any product which

contains marijuana must therefore be per se dangerous. However, according to section

7606 of the Farm Bill, 7 USC §5940(b)(2), industrial hemp is defined as “the plant

Cannabis sativa L. and any part of such plant, whether growing or not, with a delta-9

tetrahydrocannibinol concentration of not more than 0.3 percent on a dry weight basis.”

               Defendants’ expert’s report and deposition testimony establishes that the

product at issue, when tested during its development and manufacturing stages, contained

THC content well below the state and federal limit of 0.3%. (Mura Declaration Exhibits F,

G and H). As such, there are no triable issues of material fact that the product at issue

was not reasonably safe.

                                             POINT VII

                  MMI/RDH ARE ENTITLED TO SUMMARY JUDGMENT
                     DISMISSING COUNT V OF THE COMPLAINT

               Count V of plaintiffs’ complaint alleges a breach of contract theory of liability.

(ECF Doc. No. 1, page 13). MMI/RDH are entitled to summary judgment dismissing this

count as there is no genuine question of material fact tending to show that the contract, if

any, was not fulfilled.

               Under New York law, the elements of a cause of action for breach of contract

are “(1) the existence of a contract, (2) the plaintiff’s performance under the contract, (3)


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the defendant’s breach of the contract, and (4) resulting damages.” Palmetto Partners,

L.P. v. AJW Qualified Partners, LLC, 83 A.D.3d 804 (2d Dept. 2011). “Generally, a party

alleging breach of contract must demonstrate the existence of a contract reflecting the

terms and conditions of their purported agreement.” Mandarin Trading Ltd. V. Wildenstein,

16 N.Y.3d 173, 181-182 (2011); Ward v. TheLadders.com, Inc., 3. F.Supp.3d 151 (SDNY

2014).

              Assuming any contract could have existed between plaintiffs and MMI/RDH,

the contract was properly fulfilled. Plaintiffs ordered and paid for and received the product

at issue. (Mura Declaration Exhibit C, page 230). Both plaintiffs testified that the product

received was what they ordered (Mura Declaration Exhibit C, page 230). It is, remarkably,

the crux of plaintiffs’ case that the product they researched, ordered and paid for was the

product they received. Plaintiffs’ breach of contract cause of action fails on that basis

alone. Thus, MMI/RDH are entitled to summary judgment dismissing Count V of the

complaint.

                                            POINT VIII

      MMI/RDH ARE ENTITLED TO JUDGMENT ON THE PLEADINGS AND/OR
       SUMMARY JUDGMENT DISMISSING COUNT VI OF THE COMPLAINT

              Count IV of plaintiffs’ complaint purports to allege a cause of action for

liability based on an alleged breach of an express warranty in violation of New York

Uniform Commercial Code § 2-313. A plaintiff’s “failure to allege any specific words,

promises or statements made by [defendants] that would create an express warranty is

fatal to the claim.” Fisher v. App Pharmaceuticals, LLC, 783 F.Supp.2d 424 (SDNY, 2011).

According to this Court, “[a]s is clear from the standard, the actual material statement


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amounting to a warranty is critically important; it is so crucial that courts require parties to

specifically identify the statement even at the motion-to-dismiss stage” Hume v. Farr’s

Coach Lines, Limited, Case No. 12-CV-6378-FPG-JWF (W.D.N.Y. 2016).

               Plaintiffs’ complaint fails to allege any specific words, promises or

statements of MMI or RDG that constitute an express warranty. Instead, the complaint

points generally at “advertisements” and “press releases” alleged to have been issued by

MMI/RDH, but without identifying any specific advertisement or press releases, much less

their statements. Indeed, plaintiffs’ complaint fails to identify any statement from which an

express warranty can be gleaned. Therefore, MMI/RDH are entitled to judgment on the

pleadings pursuant to Fed. R. Civ. P. 12(c) dismissing Count VI of the complaint.

               In the alternative, MMI/RDH are entitled to summary judgment on this count.

Breach of express warranty claims under New York law require “(i) a material statement

amounting to a warranty; (ii) the buyer’s reliance on this warranty as a basis for the contract

with his immediate seller; (iii) the breach of this warranty; and (iv) injury to the buyer caused

by the breach.” Avola v. Louisiana-Pac Corp., 991 F.Supp.2d 381, 391 (E.D.N.Y. 2013).

               In this matter, the record is bereft of material statements amounting to a

warranty. The only statements in the record attributed to any of the defendants, are those

allegedly made by Tripp Keber, whom the High Times sidebar or un-bylined article

identifies as “Dixie’s Managing Director”. (ECF Doc. No. 1-1). There is not a single

statement from any representative of MMI/RDH to be found in the record. The High Time

sidebar was not a paid advertisement by MMI/RDH and therefore no express warranty can

be attributed to them by that document.



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              Even were this Court to find a question of fact regarding whether the High

Times sidebar or un-bylined article can be linked to MMI or RDH, no express warranty can

be extracted from that writing. Moreover, MMI/RDH have established on this motion that

they made no express warranties, much less false ones, in that article or to the plaintiffs.

For these reasons, MMI/RDH are entitled to summary judgment dismissing Count VI of

the complaint.

                                             POINT IX

           MMI/RDH ARE ENTITLED TO JUDGMENT ON THE PLEADINGS
                  DISMISSING COUNT VII OF THE COMPLAINT

              Count VII of the complaint purports to allege a cause of action based on

unjust enrichment. In order to plead a claim for unjust enrichment, a plaintiff must allege

that “(1) defendant was enriched, (2) at plaintiff’s expense, and (3) equity and good

conscience militate against permitting defendant to retain what plaintiff is seeking to

recover.” Briarpatch Litd. v. Phoenix Pictures, Inc., 373 F.3d 296 (2d Cir., 2004) (internal

quotations omitted).

              In the instant matter, plaintiffs have failed to plead in any way that equity and

good conscience militate against permitting MMI/RDH to retain what plaintiff is seeking to

recover. The complaint merely states that plaintiffs “conferred their full payment on price

on Defendants” and that the defendants were unjustly enriched by retaining those funds

and continue to be so unjustly enriched due to continuing to retain the benefit of those

funds. (ECF Doc. No. 1, page 14). These allegations do not amount to a proper pleading

of unjust enrichment and, as such, MMI/RDH are entitled to judgment on the pleadings

dismissing Count VII of the complaint.


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                                             POINT X

                 MMI/RDH ARE ENTITLED TO SUMMARY JUDGMENT
                   DISMISSING COUNT VIII OF THE COMPLAINT

              Count VIII of the complaint purports to allege a common law negligence

cause of action. (ECF Doc. No. 1, pages 14-15). MMI/RDH are entitled to summary

judgment dismissing this count because there are no genuine issues of material fact

tending to show that MMI/RDH negligently manufactured or acted negligently with regard

to the product at issue. According to the Second Circuit:

              It is well-settled under New York law that "words as well as
              acts may serve as the premise for a negligence action." Heard
              v. City of New York, 82 N.Y.2d 66, 73, 603 N.Y.S.2d 414, 623
              N.E.2d 541 (1993). But misstatements are actionable only if
              the defendant is "under a duty to the plaintiff to exercise
              reasonable care in giving the information, and plaintiffs'
              reliance upon the information [is] foreseeable." Id. at 74, 603
              N.Y.S.2d 414, 623 N.E.2d 541. There "`must be knowledge or
              its equivalent'" on the defendant's part "`that the information
              is desired for a serious purpose,'" that the plaintiff intends to
              "`rely and act upon it,'" and that if the information "`is false or
              erroneous,'" he will suffer injury. Id. (quoting Int'l Prods. Co. v.
              Erie R.R. Co., 244 N.Y. 331, 338, 155 N.E. 662 (1927)).

Eternity Global Master Fund v. Morgan Guar. Trust, 375 F.3d 168, 187 (2d Cir. 2004).

              MMI/RDG have established on their motion that they did not negligently

manufacture or test the product at issue before it was sold to plaintiffs. MMI/RDG have

also established that they did not know Douglas Horn would be ingesting the product and

that he was subject to random urinalysis testing. As a matter of law this court may find

that there was no breach of a duty of care by MMI and RDH or foreseeability of harm to

the plaintiffs to support a negligence cause of action. Consequently, MMI/RDH are entitled

to summary judgment dismissing Count VIII of the complaint.


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         MURASTORM, PLLC  930 RAND BUILDING  14 LAFAYETTE SQUARE  BUFFALO, NEW YORK 14203
                                 (716) 855-2800  FAX (716) 855-2816
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                                             POINT XI

      MMI/RDH ARE ENTITLED TO JUDGMENT ON THE PLEADINGS AND/OR
       SUMMARY JUDGMENT DISMISSING COUNT IX OF THE COMPLAINT

              Count IX of the complaint purports to allege a cause of action for negligent

infliction of emotional harm. (ECF Doc. No. 1, page 15). “A claim of negligent infliction of

emotional distress may only proceed where the allegations of conduct are so extreme in

degree and outrageous in character as to go beyond all possible bounds of decency, so

as to be regarded as atrocious and utterly intolerable in a civilized community.” Black v.

Race, 487 F.Supp.2d 187, 219 (E.D.N.Y. 2007) (internal quotes omitted). “Moreover, in

the absence of contemporaneous or consequential physical injury, courts have been

reluctant to permit recovery for negligently cause psychological trauma, with ensuing

emotional harm alone.” Id.

              The complaint fails to allege any such extreme conduct or outrageous

conduct. Plaintiffs purchased and used a product they knew contained cannabidiol, a

Cannabis sativa chemical. Even if plaintiffs can prove that the product Douglas Horn

consumed – which was not tested – contained more than 0.3% THC, the plaintiffs’ various

claims against the defendants do not involve conduct so extreme in degree and

outrageous in character as to go beyond all possible bounds of decency and be regarded

as atrocious and utterly intolerable in a civilized community.

              For these reasons, MMI/RDH are entitled to judgment on the pleadings

and/or summary judgment dismissing Count IX of the complaint.




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         MURASTORM, PLLC  930 RAND BUILDING  14 LAFAYETTE SQUARE  BUFFALO, NEW YORK 14203
                                 (716) 855-2800  FAX (716) 855-2816
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                                           CONCLUSION

                   WHEREFORE, based upon all of the above, it is respectfully requested that

this Court grant the instant motion of defendants Medical Marijuana, Inc., and Red Dice

Holdings, LLC, for judgment on the pleadings pursuant to Fed. R. Civ. P. 12(c) or summary

judgment pursuant to Fed. R. Civ. P. 56(a) dismissing the plaintiffs’ complaint against them

in its entirety.


DATED:             Buffalo, New York
                   August 30, 2018

                                                Respectfully submitted,


                                                /s/ Roy A. Mura
                                                Roy A. Mura, Esq.

                                                MURA & STORM, PLLC
                                                Attorneys for Defendants Medical Marijuana, Inc.
                                                and Red Dice Holdings, LLC
                                                930 Rand Building
                                                14 Lafayette Square
                                                Buffalo, New York 14203
                                                (716) 855-2800
                                                roy.mura@muralaw.com




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           MURASTORM, PLLC  930 RAND BUILDING  14 LAFAYETTE SQUARE  BUFFALO, NEW YORK 14203
                                   (716) 855-2800  FAX (716) 855-2816
